                UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF TENNESSEE
                     WESTERN DIVISION
KIMBERLY DIEI,

             Plaintiff,
                                        Civil Action No.: 2:21-cv-
      v.                                     02071-JTF-cgc

RANDY BOYD, et al.,                         Notice of Appeal

             Defendants.


     In accordance with Rules 3 and 4 of the Federal Rules of Appellate

Procedure, Plaintiff Kimberly Diei respectfully gives notice that she

appeals to the United States Court of Appeals for the Sixth Circuit from

the United States District Court for the Western District of Tennessee’s

judgment entered on August 8, 2023, dismissing all of Plaintiffs’ claims

with prejudice. In appealing from that final judgment, Plaintiff also

appeals from all orders ancillary to that judgment, including Order

Granting Defendants’ Motion to Dismiss and Order Finding Discovery

Motions Moot (ECF Nos. 69 and 70) and Judgment Entry (ECF No. 71).

Respectfully Submitted,
Dated: August 24, 2023

/s/ Greg Harold Greubel
GREG HAROLD GREUBEL


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Attorneys for Plaintiff Kimberly Diei’




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                            CERTIFICATE OF SERVICE

       Plaintiff’s counsel confirms that a true and correct copy of the foregoing was

served via the Court’s electronic filing system on this day, August 24, 2023. Notice of

this filing will be sent by operation of the Court’s electronic filing system to all parties

indicated below and parties may access this filing through the Court’s electronic filing

system.

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 Dated: August 24, 2023
                                                               /s/ Greg H. Greubel
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